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                EXHIBIT 3
10/18/23, 3:57 PM Case 4:22-cr-00612        Document
                             Ford O'Brien, LLP              451-16 Re:Filed
                                               Mail - RE: [EXTERNAL]          on 10/18/23
                                                                       United States              in TXSDDisclosure
                                                                                     v. Edward Constantinescu- Pageof 2Timestamp
                                                                                                                         of 6 Issue


                                                                                       Jamie Hoxie Solano <jsolano@fordobrien.com>



  RE: [EXTERNAL] Re: United States v. Edward Constantinescu- Disclosure of
  Timestamp Issue
  Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>                                         Tue, Oct 3, 2023 at 10:06 AM
  To: Jamie Hoxie Solano <jsolano@fordobrien.com>
  Cc: "Carter III, Thomas (USATXS)" <Thomas.Carter.III@usdoj.gov>, "Liolos, John (CRM)" <John.Liolos@usdoj.gov>, Matthew
  Aaron <mford@fordobrien.com>, Steve Halpin <shalpin@fordobrien.com>


    We have clarified and have explained. Please read our responses, if you haven’t already. Again, if you have
    a question about a specific document, let us know. Otherwise, further discussion of this issue will not be
    fruitful.



    From: Jamie Hoxie Solano <jsolano@fordobrien.com>
    Sent: Tuesday, October 3, 2023 10:01 AM
    To: Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>
    Cc: Carter III, Thomas (USATXS) <TCarter2@usa.doj.gov>; Liolos, John (CRM) <John.Liolos@usdoj.gov>; Matthew
    Aaron <mford@fordobrien.com>; Steve Halpin <shalpin@fordobrien.com>
    Subject: Re: [EXTERNAL] Re: United States v. Edward Constantinescu- Disclosure of Timestamp Issue



    Scott,



    You are wrong--we don't have "all the information" at our disposal. We need you to properly disclose what the issue is
    with the timestamps so we can decide whether it is worth believing your assurance that the issue "will not be relevant."
    I'm not sure why the Government is so scared to tell us what your agent meant in his email when he told you that there
    was an issue with the timestamps--he certainly thought it was relevant enough to highlight for you. If it isn't relevant, why
    not clarify the issue for us?



    Jamie



    On Tue, Oct 3, 2023 at 9:30 AM Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov> wrote:

       Jamie,


       I have no reason to believe any files are “affected.” But I’m not going to spend my time going through
       discovery to run down an issue that will not be relevant at trial. If you would like to spend your time doing
       that, you may and you have all the information at your disposal to do so.


       Best,


       Scott
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                                                                       United States              in TXSDDisclosure
                                                                                     v. Edward Constantinescu- Pageof 3Timestamp
                                                                                                                         of 6 Issue



       From: Jamie Hoxie Solano <jsolano@fordobrien.com>
       Sent: Tuesday, October 3, 2023 9:28 AM
       To: Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>
       Cc: Carter III, Thomas (USATXS) <TCarter2@usa.doj.gov>; Liolos, John (CRM) <John.Liolos@usdoj.gov>; Matthew
       Aaron <mford@fordobrien.com>; Steve Halpin <shalpin@fordobrien.com>
       Subject: Re: [EXTERNAL] Re: United States v. Edward Constantinescu- Disclosure of Timestamp Issue



       Scott,



       I’ll deduce from your response that you did produce material to us that is affected by the time stamp issue. So please
       disclose what that issue is and let us know what files are affected.



       Jamie



       Sent from my iPhone



                On Oct 3, 2023, at 9:14 AM, Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov> wrote:

                ﻿

                If you have any questions about a specific document, please let us know. You have the
                underlying records, including the text files, and the processed materials.



                From: Jamie Hoxie Solano <jsolano@fordobrien.com>
                Sent: Tuesday, October 3, 2023 7:31 AM
                To: Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>
                Cc: Carter III, Thomas (USATXS) <TCarter2@usa.doj.gov>; Liolos, John (CRM)
                <John.Liolos@usdoj.gov>; Matthew Aaron <mford@fordobrien.com>; Steve Halpin
                <shalpin@fordobrien.com>
                Subject: Re: [EXTERNAL] Re: United States v. Edward Constantinescu- Disclosure of Timestamp Issue



                Good morning,



                I’m following up with the below. Can you please let us know? If you’d prefer to get on a call, let me
                know. We’ve waited a while for this information.



                Thanks,



                Jamie

                Sent from my iPhone


https://mail.google.com/mail/u/0/?ik=f0e351720f&view=pt&search=all&permmsgid=msg-f:1778743489713259602&simpl=msg-f:1778743489713259602&mb=1   2/5
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                                                                                     v. Edward Constantinescu- Pageof 4Timestamp
                                                                                                                         of 6 Issue



                       On Sep 29, 2023, at 1:52 PM, Jamie Hoxie Solano <jsolano@fordobrien.com> wrote:

                       ﻿

                       Scott,



                       Can you please also confirm, just so we are clear, that whatever came from the Axiom tool
                       that has the timestamp issue was not produced in discovery? If it was produced in
                       discovery, please identify what those records are.



                       Thanks,



                       Jamie



                       On Fri, Sep 29, 2023 at 12:57 PM Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>
                       wrote:

                           Counsel,


                           Axiom is an automated program that was used by Mr. Varani for a preliminary
                           and initial review of the twitter search-warrant returns. Mr. Varani did not use
                           the Axiom program for processing the search-warrant returns that were
                           produced to you in discovery. Nor will Mr. Varani be testifying at trial about
                           anything related to the Axiom tool. As to these points, I would refer you to Mr.
                           Varani’s June 15, 2023 disclosure relating to this work as it relates to the
                           Discord and Twitter materials we will introduce at trial.


                           To the extent you have any questions about the timestamps of either the
                           Discord or Twitter production, I would refer you to original text files, as
                           indicated in Mr. Varani’s September 27, 2022 email.


                           Best,


                           Scott




                           From: Armstrong, Scott (CRM)
                           Sent: Tuesday, September 26, 2023 2:45 PM
                           To: Jamie Hoxie Solano <jsolano@fordobrien.com>; Carter III, Thomas (USATXS)
                           <TCarter2@usa.doj.gov>; Liolos, John (CRM) <John.Liolos@usdoj.gov>
                           Cc: Matthew Aaron <mford@fordobrien.com>; Steve Halpin <shalpin@fordobrien.com>
https://mail.google.com/mail/u/0/?ik=f0e351720f&view=pt&search=all&permmsgid=msg-f:1778743489713259602&simpl=msg-f:1778743489713259602&mb=1   3/5
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                                                                                     v. Edward Constantinescu- Pageof 5Timestamp
                                                                                                                         of 6 Issue
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                          Timestamp Issue



                          Planning to get to this by week’s end.



                          From: Jamie Hoxie Solano <jsolano@fordobrien.com>
                          Sent: Tuesday, September 26, 2023 10:16 AM
                          To: Carter III, Thomas (USATXS) <TCarter2@usa.doj.gov>; Liolos, John (CRM)
                          <John.Liolos@usdoj.gov>; Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>
                          Cc: Matthew Aaron <mford@fordobrien.com>; Steve Halpin <shalpin@fordobrien.com>
                          Subject: [EXTERNAL] Re: United States v. Edward Constantinescu- Disclosure of
                          Timestamp Issue



                          Good morning,



                          It has been two weeks so I'm checking in on this. When will the government be prepared
                          to explain the timestamp issue? This would seem to be something that shouldn't need
                          the Court's intervention for you to disclose.



                          Thanks,



                          Jamie



                          On Wed, Sep 13, 2023 at 12:38 PM Jamie Hoxie Solano <jsolano@fordobrien.com>
                          wrote:

                             Counsel:



                             Please see the attached correspondence.



                             Best,



                             Jamie



                             Jamie Hoxie Solano

                             Partner

                             Ford O'Brien Landy LLP

                             275 Madison Avenue, Floor 24

                             New York, NY 10016

                             212-858-0040
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